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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,                    )      CRIMINAL NO. 16-10343-ADB
                                             )
              v.                             )
                                             )
(1) MICHAEL L. BABICH                        )
(2) ALEC BURLAKOFF                           )
(3) MICHAEL J. GURRY                         )
(4) RICHARD M. SIMON                         )
(5) SUNRISE LEE                              )
(6) JOSEPH A. ROWAN                          )
(7) JOHN N. KAPOOR                           )
        Defendants.                          )
                                             )

                    JOINT MEMORANDUM PURSUANT TO L.R. 116.5(b)

       The parties, through their respective counsel as set forth below, submit this Second Joint

Memorandum pursuant to L.R. 116.5(b) regarding the interim status conference scheduled for

October 19, 2018.

   (1) Status of Automatic Discovery and Pending Discovery Requests

   The United States produced automatic discovery related to the initial Indictment to

Defendants Babich, Burlakoff, Gurry, Simon, Lee, and Rowan on February 2, 2017. The United

States made supplemental disclosures to those defendants on March 6, April 14, June 9, June 29,

July 26, and September 6, 2017. The United States received Defendants’ discovery request on

May 5, 2017, to which it responded on June 5, 2017.

   The First Superseding Indictment was unsealed on October 26, 2017. The United States

provided Defendant Kapoor with all discovery described above on November 14, 2017. The

United States provided all defendants with automatic discovery related to the First Superseding

Indictment on November 21, 2017. The United States made supplemental disclosures to all
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defendants on December 21, 2017, February 16, 2018, March 9, 2018, March 26, 2018, April 6,

2018, April 9, 2018, April 18, 2018, April 23, 2018, April 27, 2018, May 11, 2018, June 5, 2018,

June 8, 2018, June 29, 2018, July 6, 2018, July 30, 2018, August 1, 2018, August 8, 2018, and

September 17, 2018. The Defendants made discovery requests on March 20, 2018, March 22,

2018, and April 2, 2018. The United States responded to those requests on April 23, 2018.

    The Second Superseding Indictment was unsealed on September 11, 2018. The United

States provided all defendants with automatic discovery related to the Second Superseding

Indictment on September 25, 2018.

    (2) Timing of Additional Discovery to Be Produced

    The United States is aware of its continuing duty to disclose newly discovered additional

evidence or material that is subject to discovery or inspection under Local Rules 116.1 and

116.2(b)(1) and Rule 16 of the Federal Rules of Criminal Procedure.

    (3) Timing of Additional Discovery Requests

    The Defendants do not anticipate serving any additional discovery requests on the United

States at this time.

    (4) Protective Orders

    The Court previously entered three protective orders (Docket Nos. 81, 83, and 282).

    (5) Pretrial Motions under Fed. R. Crim. P. 12(b)

            a. Discovery Motions

    Pursuant to the Court’s order of February 2, 2018 (ECF 278), the Defendants filed two

discovery motions (ECF 311 & 313) on May 21, 2018. The United States filed its responses to

the Defendants’ discovery motions on June 11, 2018, and the Defendants submitted replies in

support of their discovery motions on July 3, 2018. On July 17, 2018, the Court held a hearing
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(ECF 362) on the Defendants’ discovery motions, after which it denied the Defendants’ motion

for discovery of patient records as moot (ECF 364). On August 3, 2018, the Court issued an

order (ECF 380) granting in part and denying in part as moot the Defendants’ motion seeking

discovery of exculpatory material in the possession of sister USAOs and federal agencies.

   On August 17, 2018, the United States filed a motion for reconsideration of the Court’s

August 3, 2018 order. On August 28, 2018, the Defendants filed a memorandum in opposition

(ECF 406) to the United States’ motion for reconsideration of the Court’s August 3, 2018 order.

The Court held a hearing (ECF 431) on the United States’ motion for reconsideration, but

reserved ruling on the motion to allow the parties to negotiate a resolution. The parties have

since engaged in negotiations and will file a joint submission detailing the outcome of the

negotiations before the next scheduled status conference on October 19, 2018.

           b. Motion for a Bill of Particulars

   Upon the issuance of the Second Superseding Indictment, the Court dismissed as moot

Defendants’ motion for a bill of particulars relating to the First Superseding Indictment (ECF

427). Defendants anticipate filing a motion for a bill of particulars relating to the Second

Superseding Indictment shortly.

           c. Motion to Dismiss the Indictment

   Upon the issuance of the Second Superseding Indictment, the Court dismissed as moot

Defendants’ motion to dismiss First Superseding Indictment (ECF 426). Defendants anticipate

filing a motion to dismiss relating to the Second Superseding Indictment shortly.

           d. Motion to Disqualify Dr. Christopher Gilligan

   On August 20, 2018, the Defendants filed a Motion to Disqualify Dr. Christopher Gilligan

(ECF 387), one of the individuals included in the expert witness disclosures served by the United
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States on August 1, 2018. On September 4, 2018, the United States filed its opposition (ECF

407) to the Defendants’ motion to disqualify. The Defendants filed their reply in further support

of their motion to disqualify on September 11, 2018. On September 26, 2018, the Court granted

Defendants’ motion to disqualify and instructed the United States to disclose a replacement

expert by October 26, 2018. The United States disclosed Dr. Stephen M. Thomas as a

replacement expert on September 28, 2018.

            e. Additional Rule 12(b) Motions

    Defendant Lee may also file motions addressing severance and venue/jurisdiction issues.

    (6) Timing of Expert Witness Disclosures

    On August 1, 2018, the United States served on the Defendants its disclosures under Federal

Rule of Criminal Procedure 16 for any expert witness it intends to call in an affirmative capacity

at trial. On October 1, 2018, Defendants served on the United States their disclosures under

Federal Rule of Criminal Procedure 16 for any expert witness they intend to call in an

affirmative capacity at trial.

    Pursuant to the Court’s order of February 2, 2018 (ECF 279):

        (a) the Defendants shall serve on the government all disclosures required under

    Federal Rule of Criminal Procedure 16 for any expert witness who they intend to call in a

    rebuttal capacity at trial on or before November 12, 2018.

        (b) the government shall serve on Defendants all disclosures required under

    Federal Rule of Criminal Procedure 16 for any expert witness who it intends to call in a

    rebuttal capacity at trial (i.e., not during the Government’s case in chief) on or before

    November 12, 2018.
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    (7) Defenses of Insanity, Public Authority or Alibi

   None of the Defendants has disclosed a defense of Insanity, Public Authority, or Alibi.

   (8) Periods of Excludable Delay

   On July 18, 2018, the parties filed an assented to motion to exclude time (ECF 366) up

through the Interim Status Conference previously scheduled for September 6, 2018. The Court

granted the parties’ motion to exclude time (ECF 368) on July 19, 2018, and extended the period

of excludable delay to September 13, 2018 after rescheduling this month’s Interim Status

Conference (ECF 396). At the Status Conference held on September 13, 2018, Defendants

agreed to exclude time up through October 4, 2018. The parties agreed in their last Joint

Memorandum that the time from October 4, 2018 until the next scheduled status conference on

October 19, 2018 should be excluded under the Speedy Trial Act.

   (9) The Status of Any Plea Discussions and Likelihood and Estimated Length of Trial

   At this point, the parties anticipate that Defendants Babich, Gurry, Kapoor, Lee, Rowan, and

Simon will go to trial.

   (10) The Timing of the Final Status Conference or any Further Interim Status Conference

   Pursuant to the Pretrial Order of (Burroughs J.) January 24, 2018 (ECF 277) the final status

conference is scheduled for January 8, 2019. No further interim status conferences have been

scheduled at this time.

    (11) Proposed Trial Date and Schedule

       Pursuant to the Pretrial Order of (Burroughs J.) January 24, 2018 (ECF 277) trial is

scheduled January 28, 2019. The government may move for a brief continuance of the trial

date. Defendants have not assented to any continuance.
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                                      Certificate of Service

        I hereby certify that the foregoing document filed through the ECF system will be sent
electronically to counsel for the defendants.

                      By: /s/ K. Nathaniel Yeager
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